

People v Daly (2019 NY Slip Op 05787)





People v Daly


2019 NY Slip Op 05787


Decided on July 24, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 24, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
SYLVIA O. HINDS-RADIX
VALERIE BRATHWAITE NELSON
ANGELA G. IANNACCI, JJ.


2017-02672
 (Ind. No. 1575/15)

[*1]The People of the State of New York, respondent,
vTristen Daly, appellant.


Paul Skip Laisure, New York, NY (Samuel R. Feldman of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Rhea A. Grob of counsel; Anna Arena on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Guy James Mangano, Jr., J.), imposed January 20, 2016, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The defendant's plea of guilty included a waiver of his right to appeal. Contrary to the defendant's contentions, the record amply demonstrates that the defendant knowingly, voluntarily, and intelligently waived his right to appeal (see People v Sanders, 25 NY3d 337, 341-342; People v Bradshaw, 18 NY3d 257, 264; People v Ramos, 7 NY3d 737, 738; People v Batista, 167 AD3d 69; People v Howard, 160 AD3d 897; People v Brown, 122 AD3d 133).
Where, as in this case, the defendant has entered "into a guilty plea that includes a valid waiver of the right to appeal, that waiver includes any challenge to the severity of the sentence" (People v Lopez, 6 NY3d 248, 256). Accordingly, the defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 256).
RIVERA, J.P., HINDS-RADIX, BRATHWAITE NELSON and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








